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14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                   SAN FRANCISCO DIVISION
17
     SONOS, INC.,                                   Case No. 3:20-cv-06754-WHA
18                                                  Consolidated with Case No. 3:21-cv-07559-
                    Plaintiff,                      WHA
19
           vs.                                      GOOGLE LLC’S REVISED OMNIBUS
20                                                  ADMINISTRATIVE MOTION TO FILE
     GOOGLE LLC,                                    UNDER SEAL PURSUANT TO THE
21
                                                    COURT’S ORDER RE NEW MOTIONS
22                  Defendant.                      TO SEAL (DKT. 846)

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 1 I.       INTRODUCTION

 2          Pursuant to Civil Local Rules 7-11 and 79-5 and the Court’s Order re New Motions to Seal

 3 (Dkt. 846) (“Order”), Google LLC (“Google”) hereby submits this Revised Omnibus

 4 Administrative Motion to File Under Seal and requests that the Court seal the portions of the

 5 documents identified in the charts below. In light of the Order’s directive to—“for each every

 6 request to seal”—“describe how [Google] has narrowed its request (1) from the original request to

 7 seal and (2) from any revised request to seal” and provide bases for sealing that “speak to specific

 8 information in specific pages that it seeks to seal,” Google has filed Charts A, B, and C containing

 9 this information as attachments to this motion for ease of reference. Id. at 3. The requests are also

10 supported by the accompanying Declarations of Jocelyn Ma and Sean Pak.

11 II.      LEGAL STANDARD

12          Civil Local Rule 79-5(c) provides that a party seeking to file its own documents under seal

13 must file an administrative motion that articulates the applicable legal standard and reasons for

14 keeping a document under seal, includes evidentiary support from a declaration where necessary,

15 and provides a proposed order that is narrowly tailored to seal only the sealable material.

16          “Historically, courts have recognized a ‘general right to inspect and copy public records and

17 documents, including judicial records and documents.’” Kamakana v. City & Cty. of Honolulu, 447

18 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 &

19 n.7 (1978)). In the Ninth Circuit, two different standards may apply to a request to seal a document

20 – namely the “compelling reasons” standard or the “good cause” standard. Blessing v. Plex Sys.,

21 Inc., No. 21-CV-05951-PJH, 2021 WL 6064006, at *12 (N.D. Cal. Dec. 22, 2021) (citing Ctr. For

22 Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016)). “To seal records in

23 connection with a ‘dispositive’ motion or a motion that ‘more than tangentially relate[s] to the merits

24 of a case,’ ‘compelling reasons supported by specific factual findings that outweigh the general

25 history of access and the public policies favoring disclosure’ are required.” Bronson v. Samsung

26 Elecs. Am., Inc., No. C 18-02300 WHA, 2019 WL 7810811, at *1 (N.D. Cal. May 28, 2019) (quoting

27 Kamakana, 447 F.3d at 1178-79). “A particularized showing of ‘good cause’ under Federal Rule

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 1 of Civil Procedure 26(c), however, suffices to warrant sealing in connection with a non-dispositive

 2 motion.” Id.

 3 III.     THE COURT SHOULD SEAL GOOGLE’S CONFIDENTIAL INFORMATION

 4          Pursuant to the Court’s directive in the Order, Google has submitted further revised,

 5 narrowly-tailored requests that seek to seal documents or portions thereof after review of the

 6 information that has already become public over the course of this litigation via court filings, orders,

 7 public hearings, at trial, and otherwise. In addition, although Google was obligated to produce a

 8 broad range of information it considers confidential and proprietary to defend against Sonos’s

 9 allegations of infringement (including for patents that were ultimately invalidated), Google has also

10 further removed redactions beyond information was publicly disclosed—reducing the total number

11 of documents it seeks to seal from approximately 120 documents to approximately 60 documents,

12 many of which are repeat versions of the same document. The bases for these narrowed sealing

13 requests discussing “specific information in specific passages” are provided in Charts A, B, and C

14 attached, and are further supported by the Declaration of Jocelyn Ma filed in conjunction with this

15 motion.

16          A.      Google’s Confidential Zone Scenes-Related Technical Information Warrants
                    Sealing
17
            Google requests that the Court seal the portions of documents identified in Chart A, which
18
     contain Google’s confidential information filed in connection with Sonos’s claims as to the ’885
19
     and ’966 patents (“zone scenes” patents). In light of the Court’s directives in its Order, the only
20
     such technical information Google still seeks to seal are portions of documents containing highly
21
     confidential flows of source code that provide details regarding the operation, organization, and
22
     hierarchy of such source code for the grouping and playback functionalities of current Google
23
     products—and that were not discussed at trial. Under both the “good cause” and the heightened
24
     “compelling reasons” standard, courts have determined that this type of source code information
25
     and related technical information merits sealing. See, e.g., In re Koninklijke Philips Pat. Litig., No.
26
     18-CV-01885-HSG, 2020 WL 1865294, at *2 (N.D. Cal. Apr. 13, 2020) (sealing “source code” and
27
     “information related to technical production” because “[t]he public release of these documents could
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 1 give non-party competitors an unfair advantage in developing rival products”); Finjan, Inc. v.

 2 Proofpoint, Inc., No. 13-CV-05808-HSG, 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016) (sealing

 3 “information about the technical operation of the products”). In addition, this Court has previously

 4 granted sealing of this type of information. See, e.g., Dkt. 518 at 6, 8, 12, 13.

 5          Further explanation for Google’s sealing requests and the harm that Google would suffer

 6 from the disclosure of this information is contained in Chart A. A less restrictive alternative than

 7 sealing these documents or portions thereof would not be sufficient because the information sought

 8 to be sealed is Google’s confidential business information and trade secrets, but had to be utilized

 9 by Google throughout the litigation.

10          B.      Google’s Confidential Cloud Queue-Related Technical Information Warrants
                    Sealing
11
            Google requests that the Court seal the portions of documents identified in Chart B, which
12
     contain Google’s confidential information filed in connection with Sonos’s claims as to the ’615
13
     and ’033 patents (“cloud queue” patents). Sonos accused Google applications such as YouTube,
14
     YouTube Kids, YouTube TV, YouTube Music, and Google Play Music (collectively, “Accused
15
     Cloud Queue Products”) of infringing Sonos’s cloud queue patents. See Dkt. 566 at 3. However,
16
     these claims—and Google’s technical information related thereto—were not presented to the jury
17
     because the Court found on summary judgment the asserted claims of both patents invalid and claim
18
     13 of the ’615 patent not infringed. See Dkts. 316, 566. Accordingly, while some information
19
     regarding the technical operation of the Accused Cloud Queue Products was made public through
20
     the Court’s summary judgment orders, the following information Google still seeks to seal was not
21
     disclosed at trial: source code for the MDx queue functionality, highly confidential flows of source
22
     code that provide details regarding the operation, organization, and hierarchy of such source code
23
     for functionalities related to playback of queues on YouTube apps, parameters in a setPlaylist
24
     message that were not at issue in the litigation and pertain to security and verification, detailed
25
     discussion of the technical operation for the certain functionalities of the YouTube apps and Onesie
26
     agent, information providing confidential architecture, infrastructure, and implementation details
27
     regarding playback operations for YouTube apps, information regarding the data, locations,
28

                                                                     Case No. 3:20-cv-06754-WHA
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 1 operation, and hierarchy of servers in Google’s content delivery network, the fields and format

 2 within a Onesie response that relate to security keys, and the personal contact information of a

 3 Google engineer.

 4          Courts have determined that this type of source code and related technical information merits

 5 sealing. See, e.g., In re Koninklijke Philips Pat. Litig., 2020 WL 1865294, at *2 (sealing “source

 6 code” and “information related to technical production” because “[t]he public release of these

 7 documents could give non-party competitors an unfair advantage in developing rival products”);

 8 Finjan, 2016 WL 7429304, at *2 (sealing “information about the technical operation of the

 9 products”); In re PersonalWeb Techs., LLC Pat. Litig., No. 18-MD-02834-BLF, 2019 WL

10 13033990, at *2 (N.D. Cal. Dec. 16, 2019) (granting sealing of information regarding cloud servers);

11 In re Google Inc. Gmail Litig., 13-MD-2430, 2013 WL 5366963, at *2 (N.D. Cal. Sept. 25, 2013)

12 (granting sealing of “information that if made public Google contends could lead to a breach in the

13 security of the Gmail system”). In addition, the Court has previously granted sealing of some of this

14 type of information. See, e.g., Dkt. 518 at 6, 8, 12, 13. Courts have also found that “personal contact

15 information” warrants sealing under the heightened compelling reasons standard. Benedict v.

16 Hewlett-Packard Co., No. 13-cv-119, 2016 WL 3568922, at *2 (N.D. Cal. July 1, 2016); see also

17 Nursing Home Pension Fund v. Oracle Corp., No. C01-00988 MJJ, 2007 WL 3232267, at *2 (N.D.

18 Cal. Nov. 1, 2007) (“The Ninth Circuit has found that compelling reasons exist to keep personal

19 information confidential to protect an individual's privacy interest and to prevent exposure to harm

20 or identity theft.”).

21          Further explanation for Google’s sealing requests and the harm that Google would suffer

22 from the disclosure of this information is contained in Chart B. A less restrictive alternative than

23 sealing these documents or portions thereof would not be sufficient because the information sought

24 to be sealed is Google’s confidential business information and trade secrets and its employee’s

25 personal contact information, but was disclosed or had to be utilized by Google during the litigation.

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 1          C.      Google’s Confidential Damages-Related Information Warrants Sealing

 2          Google requests that the Court seal the portions of documents identified in Chart C, which

 3 contain Google’s confidential information filed in connection with the calculation of damages for

 4 the cloud queue and zone scenes patents.

 5          First, Google seeks to seal the following highly confidential information related to Google’s

 6 products accused of infringing the now-invalidated cloud queue patents: (1) non-public financial

 7 and sales for the YouTube apps, Google Play Music app, Pixel devices, and Google TV, (2) the

 8 existence and terms of Google’s confidential licensing and purchase agreements, and (3) internal

 9 casting usage metrics for installations data for YouTube applications. This information was not at

10 issue during trial or used by either party to calculate damages, and thus “would do little to aid the

11 public’s understanding of the judicial process, but would have the potential to cause significant

12 harm[.]” Network Appliance, Inc. v. Sun Microsystems Inc., No. C-07-06053 EDL, 2010 WL

13 841274, at *3 (N.D. Cal. Mar. 10, 2010). Second, Google further seeks to seal documents

14 comprising or referencing a non-binding term sheet between Google and Sonos—for which Sonos

15 also requests sealing (Dkt. 831)—as well as the related licensing negotiations between the parties.

16 Third, Google also seeks to seal the following confidential business information that was not

17 disclosed at trial: (1) compensation information for its employees, (2) internal surveys, studies, and

18 analyses regarding Google products, (3) internal discussions regarding business strategy and future

19 plans for Google products and unreleased technology, (4) granular installation information for the

20 Google Home app, (5) granular sales information for Google’s accused hardware products, and (6)

21 the installation and financial information of third-party IFTTT.

22          Courts have determined that this type of confidential information merits sealing. See, e.g.,

23 Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., No. 12-CV-03844-JST, 2015 WL 984121,

24 at *5 (N.D. Cal. Mar. 4, 2015) (sealing “confidential information relating to sales, revenues, profits

25 and costs” under the good cause standard); Finjan, Inc. v. Proofpoint, Inc., No. 13-CV-05808-HSG,

26 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016) (granting sealing of “financial revenue data”

27 under the compelling reasons standard); Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc.,

28 No. 12-CV-03844-JST, 2015 WL 12976921, at *3 (N.D. Cal. Mar. 31, 2015) (granting motion to

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 1 seal “sensitive business information regarding the amount of royalties received under a licensing

 2 agreement and also detailed information regarding a confidential licensing and manufacturing

 3 agreement” under the good cause standard); Fed. Trade Comm’n v. Qualcomm Inc., No. 17-CV-

 4 00220-LHK, 2018 WL 6575544, at *2 (N.D. Cal. Dec. 12, 2018) (granting sealing of “‘patent

 5 licensing agreements or negotiations’ on the basis that such information reveals competitive

 6 sensitive business information”); Krieger v. Atheros Commc'ns, Inc., No. 11-CV-640-LHK, 2011

 7 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011) (finding information regarding party's “long-term

 8 financial projections, discussions of business strategy, and competitive analyses” sealable under the

 9 compelling reasons standard); Prescott v. Reckitt Benckiser LLC, No. 20-CV- 02101-BLF, 2023

10 WL 2465778, at *2 (N.D. Cal. Mar. 9, 2023) (noting that “[t]he Ninth Circuit has found” “internal

11 business strategies [and] internal communications” appropriate for sealing); Arista Networks, Inc.

12 v. Cisco Sys., Inc., No. 16-cv-00923-BLF, 2018 WL 2010622, *2-3 (N.D. Cal. Apr 30, 2018)

13 (sealing “highly confidential” information relating to litigant’s “financial information and internal

14 development strategies”); Williams v. Apple, Inc., No. 19-CV-04700-LHK, 2021 WL 2476916, at

15 *3 (N.D. Cal. June 17, 2021) (finding that “public disclosure of key metrics” such as the “iCloud

16 userbase . . . would harm Apple’s competitive standing”); Music Grp. Macao Com. Offshore Ltd. v.

17 Foote, No. 14-CV-03078-JSC, 2015 WL 3993147, at *1 (N.D. Cal. June 30, 2015)(recognizing that

18 “sources of business information that might harm a litigant’s competitive strategy,” such as

19 “customer usage information kept confidential by a company that could be used to the company's

20 competitive disadvantage,” can be sealed under the “compelling reasons” standard). In addition,

21 this Court has previously sealed some of this type of information. See, e.g., Dkt. 334 at 4.

22          Further explanation for Google’s sealing requests and the harm that Google would suffer

23 from the disclosure of this information is contained in Chart C. A less restrictive alternative than

24 sealing these documents or portions thereof would not be sufficient because the information sought

25 to be sealed is Google’s confidential business information, but was disclosed or had to be utilized

26 by Google during the litigation.

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 1          D.     Google No Longer Seeks to Seal Information Related to the Parties’ Collaborations

 2          Information regarding Google and Sonos’s collaboration and the terms of their partnership

 3 agreements was produced and disclosed in connection with Google’s affirmative defenses and

 4 counterclaims for breach of contract and conversion in relation to the cloud queue patents. However,

 5 this information was not discussed during the trial of this matter given the Court’s summary

 6 judgment orders finding the ’615 patent invalid and not infringed and the ’033 patent invalid. See

 7 Dkts. 316, 566.      Although courts have determined that this type of information regarding

 8 confidential business agreements and partnerships merit sealing under the heightened “compelling

 9 reasons” standard, including this Court, Google nevertheless withdraws its requests to seal such

10 information and will refile such information publicly in light of the Order’s directive. See Dkt. 832-

11 1 ¶ 18; see also Dkt. 334 at 2, 3, and 6.

12 IV.      CONCLUSION

13          For the foregoing reasons, Google respectfully requests that the Court grant Google’s

14 Revised Omnibus Administrative Motion to File Under Seal Pursuant to the Court’s Order Re New

15 Motions to Seal (Dkt. 846).

16

17    DATED: August 9, 2023                      QUINN EMANUEL URQUHART & SULLIVAN,
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